            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

DEMOCRACY NORTH CAROLINA, THE
LEAGUE OF WOMEN VOTERS OF NORTH
CAROLINA, DONNA PERMAR, JOHN P.
CLARK, MARGARET B. CATES, LELIA
BENTLEY, REGINA WHITNEY EDWARDS,
ROBERT K. PRIDDY II, WALTER
HUTCHINS, AND SUSAN SCHAFFER,

                  Plaintiffs,

                 vs.                        Civil Action

THE NORTH CAROLINA STATE BOARD OF           No. 20-cv-457
ELECTIONS; DAMON CIRCOSTA, in his
official capacity as CHAIR OF THE
STATE BOARD OF ELECTIONS; STELLA
ANDERSON, in her official capacity
as SECRETARY OF THE STATE BOARD OF
ELECTIONS; KEN RAYMOND, in his
official capacity as MEMBER OF THE
STATE BOARD OF ELECTIONS; JEFF
CARMON III, in his official
capacity as MEMBER OF THE STATE
BOARD OF ELECTIONS; DAVID C. BLACK,
in his official capacity as MEMBER
OF THE STATE BOARD OF ELECTIONS;
KAREN BRINSON BELL, in her official
capacity as EXECUTIVE DIRECTOR OF
THE STATE BOARD OF ELECTIONS; THE
NORTH CAROLINA DEPARTMENT OF
TRANSPORTATION; J. ERIC BOYETTE, in
his official capacity as
TRANSPORTATION SECRETARY; THE NORTH
CAROLINA DEPARTMENT OF HEALTH AND
HUMAN SERVICES; MANDY COHEN, in her
official capacity as SECRETARY OF
HEALTH AND HUMAN SERVICES,


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                    Defendants,

PHILIP E. BERGER, in his official
capacity as PRESIDENT PRO TEMPORE
OF THE NORTH CAROLINA SENATE;
TIMOTHY K. MOORE, in his official
capacity as SPEAKER OF THE NORTH
CAROLINA HOUSE OF REPRESENTATIVES,

               Defendant-Intervenors.


 PLAINTIFFS’ NOTICE OF WITHDRAWAL IN PART OF AMENDED MOTION
                 FOR PRELIMINARY INJUNCTION

     Plaintiffs have requested relief, through their June 18,

2020, Amended Motion for a Preliminary Injunction, to protect

their right to vote in the upcoming General Election given

the continued threat posed by Covid-19. Doc. 31. In the

Amended Motion, Plaintiffs assert, inter alia, that North

Carolina election laws violate the U.S. Constitution and

federal statutes due to restrictions on who is allowed to

assist voters in requesting absentee ballots.

     Plaintiff Walter Hutchins, who is legally blind and lives

in   a   nursing   home,   filed    a   declaration     in   support    of

Plaintiffs’ Motion for Preliminary Injunction dated June 4,

2020. Hutchins Decl., Doc 11-09 (“Hutchins Declaration”).

Plaintiffs will not rely on the words “request and” in the

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third sentence of paragraph 8, and the second through fourth

sentences of paragraph 10 of the Hutchins Declaration. A

redline of the Hutchins Declaration reflecting these changes

is attached as Exhibit 1. Plaintiffs further will withdraw

portions of their Amended Motion for a Preliminary Injunction

that sought relief for Plaintiff Hutchins in connection with

restrictions on who may assist voters in requesting absentee

ballots (i.e., portions of the Amended Motion that concern:

a cure procedure for Plaintiff Hutchins regarding absentee

ballot   request    forms   only    (Counts     One   and   Four)      and

restrictions applicable to Plaintiff Hutchins on assistance

with absentee ballot request forms only (Count Nine)).




Dated: July 8, 2020.                        Respectfully submitted,

/s/ Jon Sherman                         /s/ Allison Riggs
Jon Sherman                             Allison J. Riggs (State
D.C. Bar No. 998271                     Bar #40028)
Michelle Kanter Cohen                   Jeffrey Loperfido (State
D.C. Bar No. 989164                     Bar #52939)
Cecilia Aguilera                        Hilary Klein (State Bar
D.C. Bar No. 1617884                    #53711)
FAIR ELECTIONS CENTER                   Southern Coalition for
1825 K St. NW, Ste. 450                 Social Justice
Washington, D.C. 20006                  1415 West Highway 54,
Telephone: (202) 331-0114               Suite 101
Email:                                  Durham, NC 27707
jsherman@fairelectionscenter.or         Telephone: 919-323-3380
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                                       /s/ George P. Varghese
                                       George P. Varghese (Pa.
                                       Bar No. 94329)
                                       Joseph J. Yu (NY Bar No.
                                       4765392)
                                       Stephanie Lin (MA Bar No.
                                       690909)
                                       Rebecca Lee (DC Bar No.
                                       229651)
                                       Richard A. Ingram (DC Bar
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